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                                                                          United States District Court
                                                                            Southern District of Texas

                                                                               ENTERED
                                                                           September 07, 2016
                  IN THE UNITED STATES DISTRICT COURT
                                                                            David J. Bradley, Clerk
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

UNITED STATES OF AMERICA,                  §
                                           §
                    Government,            §
                                           §
VS.                                        §     CRIMINAL ACTION NO. H-15-614-4
                                           §
CHARLES R. WARREN,                         §
                                           §
                    Defendant.             §

                                       ORDER

       Thomas A. Glenn has filed a motion to withdraw as counsel of record for Charles

Warren. (Docket Entry No. 96). The motion is granted. The magistrate judge will appoint

new counsel for the defendant.


             SIGNED on September 7, 2016, at Houston, Texas.

                                               ______________________________________
                                                        Lee H. Rosenthal
                                                  United States District Judge
